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                    IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


  SABINO LEIBAR,
                                                Case No. 1:17-cv-00415-BLW
              Plaintiff,
                                                ORDER OF DISMISSAL OF
  v.                                            PLAINTIFF’S CLAIMS AGAINST
                                                CORPORATE DEFENDANTS
  JOHN ANCHUSTEGUI, JANE
  ANCHUSTEGUI, ANCHUSTEGUI
  SHEEP COMPANY, JA PROPERTIES
  BOISE, LLC, J A MOTORS, LLC, J A
  LAND & LIVESTOCK, LLC, and JA
  CATTLE COMPANY, LLC,

               Defendants.


       The Stipulation to Dismiss Corporate Defendants, Dkt. 12, signed by counsel for all

named parties, having come before this Court, and good cause appearing therefor;

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that any and all claims

asserted in this case by Plaintiff Sabino Leibar against Anchustegui Sheep Company, JA

Properties Boise, LLC, J A Motors, LLC, J A Land & Livestock, LLC, and J A Cattle

Company, LLC shall be dismissed with prejudice.

                                                DATED: November 13, 2017


                                                _________________________
                                                B. Lynn Winmill
                                                Chief Judge
                                                United States District Court

ORDER OF DISMISSAL - 1
